                                 SETTLEMENT AGREEMENT
                                AND RELEASE OF ALL CLAIMS
         This Settlement Agreement and Release (the “Agreement”) is made by and among Wayne

B. Lynch, Administrator of the Estate of Donovon W. Lynch, on behalf of the Estate of Donovon

W. Lynch (“Plaintiff”), Solomon D. Simmons, III (“Defendant Simmons”) and the City of Virginia

Beach (“Defendant City”) (collectively “Defendants”), and States Self-Insurers Risk Retention

Group, Inc. (“City’s Insurer”). The Plaintiff and Defendants are collectively the “Parties.”

                                           RECITALS

         WHEREAS, Plaintiff filed a Complaint in the United States District Court for the Eastern

District of Virginia captioned Wayne B. Lynch, Administrator of the Estate of Donovon W. Lynch,

Deceased v. Solomon D. Simmons, III a/k/a Solomon D. Simmons, Individually and in his Official

Capacity as a Police Officer for the City of Virginia Beach, Virginia and City of Virginia Beach

(the “Lawsuit”), Case No. 2:21-cv-341, seeking damages against Defendants for the death of

Donovon W. Lynch on March 26, 2021 (the “Incident”); and

         WHEREAS, Defendants have denied, and continue to deny, the material allegations of the

Complaint that would give rise to liability to either or both Defendants; and

         WHEREAS, Plaintiff, Defendants, and City’s Insurer participated in a mediation on

December 8, 2022 and entered a Memorandum of Understanding settling the Lawsuit and all

claims and matters related to the Incident and desire to formally memorialize their settlement of

the Lawsuit and all claims and matters relating to the Incident (“Claims”) in accordance with this

Agreement; and

         WHEREAS, Plaintiff is represented by legal counsel, and has had the opportunity to

consult with said counsel before signing this Agreement

                                         AGREEMENT

         NOW, THEREFORE, in consideration of these premises and of the covenants contained

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herein and for other good and valuable consideration, the adequacy, receipt and sufficiency of

which is by all Parties and the City’s Insurer hereby acknowledged, the Parties and the City’s

Insurer hereto, with the intent to be legally bound, agree as follows:

         1.0      Incorporation by Reference

                  The above-stated Recitals are true and correct and are incorporated herein by this

reference.

         2.0      Release and Discharge

                  2.1      Plaintiff releases and forever discharges all Defendants, and their agents set

forth in Section 2.4 below, jointly and severally, from any and all claims, demands, obligations,

actions, causes of action, wrongful death claims, rights, damages, attorney’s fees, costs, losses of

services, expenses and compensation of any nature whatsoever whether based on a tort, contract or

other theory of recovery, and whether for compensatory or punitive damages which the Plaintiff now

has, or which may hereafter accrue or otherwise be acquired, in any way arising out of or related to

the Incident, whether or not asserted in the Lawsuit. Plaintiff shall be solely responsible for

satisfying all liens, claims of liens, subrogated interests, encumbrances or demands (including but

not limited to: (a) any bills or liens for health care services rendered to Decedent; (b) any bills,

liens, subrogation rights or claims which might exist by virtue of any claims by Plaintiff’s present

or former legal counsel and Plaintiff’s present or former litigation consultants; and (c) any

insurance benefits paid in connection with the Incident that is the subject of the Lawsuit out of the

settlement proceeds paid under Section 3.0, below, and Defendants are released from liability for

all such liens and claims.

                  2.2       Parties agree that it is not the purpose of this Agreement to shift the

responsibility to Medicare, Medicaid, Social Security programs, the United States Government,

any other federal agency or entity, or any entity operating under contract with such entities, for the

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payment of any past treatment arising out of the Incident. Plaintiff represents and warrants there

are no subrogation claims, liens, or other claims, and that no conditional payments were made, by

Medicare, Medicaid, Social Security programs, the United States Government, any other federal

agency or entity, or any entity operating under contract with such entities, for, related to, or arising

out of the Incident.

                  2.3      Plaintiff agrees to never institute or reinstitute, prosecute or in any way aid in

the institution or prosecution of any claim, demand, action, cause of action or suit at law or in equity

against Defendants, whether made or not in the Lawsuit in any way arising out of or related to the

Incident.

                  2.4      The Parties agree that the release and discharge also applies to Defendants

and their past, present or future third-party administrators, administrators, agents, assigns ,

attorneys, beneficiaries, corporations, directors, divisions, employees, executors, firms, grantees,

heirs, insurers and reinsurers, joint venturers, managers, members, officers, parents, partners,

partnerships, predecessors, representatives, servants, shareholders, successors, subsidiaries,

transferees, trustees, vendees, legal and equitable owners and all persons and legal entities acting

in concert with them, and persons and legal entities who could suffer or sustain liability by,

through, or under any of them.

                  2.5      The Parties agree this release shall be fully binding and a complete settlement

of the Claims among the Plaintiff, Defendants, and their heirs, assigns and successors.

                  2.6      The Parties acknowledge and agree that this release is global and a general

release of any and all claims in any way arising out of or related to the Incident or the Lawsuit. The

Parties waive and assume the risk of any and all claims for damages which exist as of this date,

but of which the Parties do not know or suspect exist. Parties agree Plaintiff has accepted payment

of the sums specified as a complete compromise of matters involving disputed issues of law and

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fact regarding the Incident and Lawsuit.. Parties agree that this settlement is a compromise of

disputed claims, and the payments are not to be construed as any admission of liability by

Defendants, by whom liability is expressly denied.

                  2.7      Parties intend Section 2.0 to effectuate the express purpose of this Agreement,

which is to once and for all end all controversies between and among the Parties in regard to the

Incident and the Lawsuit.

         3.0      Payment

                  3.1      In consideration of the release set forth in Section 2.0 and the other

provisions of this Agreement, Defendants shall pay a total of Three Million Dollars

($3,000,000.00) to Plaintiff, as follows: Two Million Dollars ($2,000,000.00) million paid by the

City of Virginia Beach and One Million Dollars ($1,000,000) paid by States Insurance, upon due

execution of this Agreement in full and final settlement of all claims, damages, attorney’s fees,

costs, and expenses against Defendants, jointly and severally, which were brought, or could have

been brought, in the Lawsuit and/or arise out of or are related to the Incident in full satisfaction of

the Claims.

                  3.2      No other Party to this Agreement has made or is under any duty to make

payments to another other Party to this Agreement, except as set forth within Section 3.1, above.

         4.0      Attorney’s Fees

                  Each Party shall bear their own attorney’s fees and costs arising from the Claims

and this Agreement, the Lawsuit, and the Incident.

         5.0      Warranty of Capacity to Execute this Agreement

                  Plaintiff represents and warrants that no person or entity has or have had any

interest in the claims, demands, obligations, or causes of action referred to in the Recitals, except

as otherwise set forth in the disbursement schedule to be provided by Plaintiff for approval by the

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Court. Plaintiff maintains the sole right and exclusive authority to execute this Agreement and

receive the sums specified as set forth in the disbursement schedule; and that Plaintiff has not

sold, assigned, transferred, conveyed, or otherwise disposed of any of the Claims.

         6.0      Taxes

                  Plaintiff and his attorneys have not relied upon any representation, express or

implied, made by Defendants, or any of their representatives, as to the tax consequences of this

settlement, and that Plaintiff releases and discharges Defendants, and their representatives from

any and all liability in connection with any such tax consequences.

         7.0      Non-Disparagement of the Parties

                  The Parties agree that they will not disparage or otherwise criticize the actions of

any other Party, orally or in writing, to any person.

         8.0      Entire Agreement, Successors in Interest, and Reciprocity

                  This Agreement contains the entire agreement and understanding between the

Parties with regard to the Claims, the Incident and the Lawsuit and merges all negotiations and

agreements reached between the Parties, and shall bind and inure to the benefit of the executors,

administrators, personal representatives, heirs, successors and assigns of all Parties. This

Agreement may be modified, changed or altered only by an agreement in writing signed by all of

the Parties. The terms of this Agreement are reciprocal and effect a compromise of all Claims.

         9.0      Representation of Comprehension of Document and Severability

                  In entering into this Agreement, the Parties represent that they have relied upon the

legal advice of their attorneys, who are attorneys of their choice and that the terms of this

Agreement have been completely read and explained to them by their attorneys, and that those

terms are fully understood and voluntarily accepted by them. The language used in this Agreement

will be deemed to be the language chosen by all of the Parties, after review, consultation with and

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approval of their respective attorneys, to express their mutual intent, and no rule of strict

construction will be applied against any party. A determination that any provision, or the

application of any provision, of this Agreement is unenforceable, invalid or illegal shall not affect

the enforceability, validity, or legality of any other provision. Should any provision or provisions

of this Agreement be, for any reason, unenforceable, the remaining provisions shall nonetheless

be of full force and effect. Any provision found or deemed invalid or unenforceable shall only be

so to the extent and scope required by law.

         10.0     Governing Law

                  This Agreement shall be construed and interpreted in accordance with the law of

the Commonwealth of Virginia. Any litigation arising out of this Agreement shall be brought and

maintained in the United States District Court for the Eastern District of Virginia, Norfolk

Division.

         11.0     Court Approval

         Because the Lawsuit asserts, inter alia, a claim for wrongful death under Virginia state

law, the Parties and the City’s Insurer contemplate the Agreement be subject to the Court’s

approval, which process shall include the submission by Plaintiff to the Parties and the Court of

all intended distributions of the settlement sum referenced in Section 3.0 above. The Parties agree

to cooperate and use best efforts to submit this Agreement, the distribution plan, and other

necessary and appropriate documentation for consideration and approval by the Court.

         12.0     Delivery and Entry of Dismissal Order with Prejudice

                  Upon execution of this Agreement, the Parties will submit to the Court for its

consideration and approval this Agreement, the Plaintiff’s proposed distribution plan, and an

Agreed Dismissal Order or Stipulation of Dismissal with Prejudice of the Claims. The Defendants

agree to bring to the Court hearing on approval of the Agreement and distribution plan, one or

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more checks, payable jointly to Martin Law PLLC and Wayne B. Lynch, Administrator of the

Estate of Donovon W. Lynch, in the total combined about of Three Million Dollars ($3,000,000),

and upon Court approval of this Agreement and will deliver such check or checks to Martin Law

PLLC as attorney of record for the Plaintiff.

         13.0     Authority of Signatories

                  The Parties and signatories represent and warrant that they have full authority to

enter into and execute this Agreement.

         14.0     Execution in Counterparts

                  This Agreement may be executed in one or more counterparts, each of which shall

be deemed an original, and shall be effective upon execution of all the parties hereto. For purposes

of this Agreement, electronic, facsimile and/or .pdf signatures shall be deemed to be the valid and

binding signatures by the respective Parties.

         15.0     Effectiveness

                  While immediately enforceable, irrevocable, and binding, this Agreement shall be

deemed effective on payment of the total sum described in Section 3.0, above.

         16.0     Enforcement

                  Any disputes arising under this Agreement shall be submitted to U.S. Magistrate

Judge Robert J. Krask for binding resolution, with the prevailing party awarded its costs and

reasonable attorney’s fees.

         IN WITNESS WHEREOF, the Parties have executed this Agreement:

ESTATE OF DONOVON W. LYNCH


By: _______________________________________
       Wayne B. Lynch, individually and as
       Administrator of the Estate of Donovon Lynch


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By: _______________________________________
        Solomon D. Simmons, III

CITY OF VIRGINIA BEACH


By: _______________________________________
       Mark D. Stiles, City Attorney

STATES SELF-INSURERS RISK RETENTION GROUP, INC.


By:________________________________________
      Douglas C. Kennedy, Program Claim Manager
        and Authorized Representative




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